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 1   ANDRE BIROTTE JR.
     United States Attorney
 2   ROBERT E. DUGDALE
     Assistant United States Attorney
 3   Chief, Criminal Division
     KRISTEN A. WILLIAMS (Cal. State Bar No.: 263594)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0526
 7        Facsimile: (213) 894-6269
          E-mail: Kristen.Williams@usdoj.gov
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     Attorneys for Plaintiff .
     UNITED STATES OF AMERICA
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14                        I'laintiff,
15                   v.
16   HEE JUNG MUN,
        aka "Angela Mun,"
17
                   Defendant.
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20        1.   This constitutes the plea agreement between HEE JUNG
21   MUN, also known as "Angela Mun"      ("defendant") and the United
22   States Attorney's Office for the Central District of California
23   ("the USAO") in the investigation of health care fraud in
24   violation of Title 18, United States Code, Section 1347.            This
25   agreement is limited to the USAO and cannot bind any other
26   federal, state, local, or foreign prosecuting, enforcement,
27   administrative, or regulatory authorities.

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      1 D E F E N D A N T ' S OBLIGATIONS
      2              2.   Defendant agrees to:
      3                    a) Give up the right to indictment by a grand jury and,
      4   at the earliest opportunity requested by the USAO and provided by
      5   the Court, appear and plead guilty to a single-count information
      6   in the form attached to this agreement as Exhibit A or a
      7   substantially similar form.
      8                    b) Not contest facts agreed to in this agreement.
      9                    c) Abide by all agreements regarding sentencing
 10       contained in this agreement.
 11                        d) Appear for all court appearances, surrender as
 12       ordered for service of sentence, obey all conditions of any bond,
.13       and obey any other ongoing court order in this matter.
 14                        e) Not commit any crime;· however, offenses that would
 15       be excluded for sentencing purposes under United States
 16       Sentencing Guidelines ("0.. S. s. G." or "Sentencing Guidelines")
 17       §        4A1.2(C) are not within the scope of this agreement.
 18                        f) Be truthful at all times with Pretrial Services, the
 19       United States Probation Office, and the Court.
 20                        g) Pay the applicable special assessment[s] at or
 21       before the time of sentencing unless defendant lacks the ability
 22       to pay and submits a completed financial statement (form OBD-sOO)
 23       to the USAO prior to sentencing.
 24                        h) Not seek the discharge of any restitution
 25       obligation, in whole or in part, in any present or future
 26       bankruptcy proceeding.
 27                        i) Allow funds previously seized in connection with
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 1   this matter in the amount of $1,298,407.17 to be applied by the
 2   Court to pay, in order of application, any restitution, special
 3   assessments, criminal fines, and costs that defendant is required
 4   to pay, and execute papers as necessary to accomplish this
 5   application.
 6        3.   Defendant further agrees:
 7              a) Truthfully to disclose to law enforcement officials,
 8   at a date and time to be set by the USAO, the location of,
 9   defendant's ownership interest in, and all other information
10   known to defendant about, all monies, properties, and/or assets
11   of any kind, derived from or acquired as a result of, or used to
12   facilitate the commission of, defendant's illegal activities, and
13   to forfeit all right, title, and interest in and to such items,
14   specifically including all right, title, and interest in and to
15   all property and assets, including $1,298,407.17 seized by law
16   enforcement officials on or about March 2, 2011, which defendant
17   admits constitute the proceeds of defendant's illegal activity in
18   violation of Title 18, United States Code, Section 1347.
19              b) To the Court's entry of an order of forfeiture at or
20   before sentencing with respect to these assets and to the
21   forfeiture of the assets.
22              c) To take whatever steps are necessary to pass to the
23   United States clear title to the assets described above,
24   including, without limitation, the execution of a consent decree
25   of forfeiture and the completing of any other legal documents
26   required for the transfer of title to the United States.
27              d) Not to contest any administrative forfeiture
28   proceedings or civil judicial proceedings commenced against these

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      1   properties pursuant to Title 18, United states Code, Sections
      2   981 (a) (1) (A),     (C),   (b) and 984.
      3                 e) Not to assist any other individual in any effort
      4   falsely to contest the forfeiture of the assets described above.
      5                 f) Not to claim that reasonable cause to seize the
      6   assets was lacking.
      7                 g) To prevent the transfer, sale, destruction, or loss
      8   of any and all assets described above to the extent defendant has
      9   the ability to do so.
 10                     h) To fill out and deliver to the USAO a completed
 11       financial statement listing defendant's assets on a form provided
 12       by the USAO.
 13               4.    Defendant further agrees to cooperate fully with the
 14       USAO, the Federal Bureau of Investigation, and Department of
 15       Health and Human Services - Office of the Inspector General, and,
 16       as directed by the USAO, any other federal, state, local, or
 17       foreign prosecuting, enforcement, administrative, or regulatory
 18       authority.         This cooperation requires defendant to:
 19                     a)      Respond truthfully and completely to all questions
 20       that may be put to defendant, whether in interviews, before a
 21       grand jury, or at any trial or other court proceeding.
 22                     b)      Attend all meetings, grand jury sessions, trials
 23       or other proceedings at which defendant's presence is requested
 24       by the USAO or compelled by subpoena or court order.
 25                     c)      Produce voluntarily all documents, records, or
 26       other tangible evidence relating to matters about which the USAO,
 27       or its designee, inquires.
 28               5.    For purposes of this agreement:       (1) "Cooperation

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       1    Information" shall mean any statements made, or documents,
       2    records, tangible evidence, or other information provided, by
       3    defendant pursuant to defendant's cooperation under this
       4    agreement; and (2) "Plea Information" shall mean any statements
        5   made by defendant, under oath, at the guilty plea hearing and the
        6   agreed to factual basis statement in this agreement.
        7                               THE USAO'S OBLIGATIONS
        8         6.   The USAO agrees to:
        9               a) Not contest facts agreed to in this agreement.
10                      b) Abide by all agreements regarding sentencing
11          contained in this agreement.
12                      c) At the time of sentencing, provided that defendant
13          demonstrates an acceptance of responsibility for the offense up
14          to and including the time of sentencing, recommend a two-level
15          reduction in the applicable Sentencing Guidelines offense level,
 16         pursuant to U.S.S.G.        §   3El.l, and recommend and, if necessary,
 17         move for an additional one-level reduction if available under
 18         that section.
19                7.    The USAO further agrees:
 20                     a)    Not to offer as evidence in its case-in-chief in
 21         the above-captioned case or any other criminal prosecution that
 22         may be brought against defendant by the USAO, or in connection
 23         with any sentencing proceeding in any criminal case that may be
 24         brought against defendant by the USAO, any Cooperation
 25         Information.     Defendant agrees, however, that the USAO may use
 26         both Cooperation Information and Plea Information:             (1) to obtain
 27         and pursue leads to other evidence, which evidence may be used
 28         for any purpose, including any criminal prosecution of defendant;

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  1   (2) to cross-examine defendant should defendant testify, or to
  2   rebut any evidence offered, or argument or representation made,
  3   by defendant, defendant's counsel, or a witness called by
  4   defendant in any trial, sentencing hearing, or other court
  5   proceeding; and (3) in any criminal prosecution of defendant for
  6   false statement, obstruction pf justice, or perjury.
  7              b)       Not to use Cooperation Information against
  8   defendant at sentencing for the purpose of determining the
  9   applicable guideline range, including the appropriateness of an
 10   upward departure, or the sentence to be imposed, and to recommend
 11   to the Court that Cooperation Information not be used in
 12   determining the applicable guideline range or the sentence to be
 13   imposed.   Defendant understands, however, that Cooperation
 14   Information will be disclosed to the probation office and the
15    Court, and that the Court may use Cooperation Information for the
 16   purposes set forth in U.S.S.G        §   1B1.8(b) and for determining the
 17   sentence to be imposed.
 18              c)        In connection with defendant's sentencing, to
 19   bring to the Court's attention the nature and extent of
 20   defendant's cooperation.
 21              d)        If the USAO· determine..s, in its exclusive judgment,
 22   that defendant has both complied with defendant's obligations
 23   under paragraphs 2, 3, and 4 above and provided substantial
 24   assistance to law enforcement in the prosecution or investigation
 25   of another ("substantial assistance"), to move the Court pursuant
 26   to U.S.S.G.     §   5K1.1 to fix an offense level and corresponding
 27   guideline range below that otherwise dictated by the sentencing
 28   guidelines, and to recommend a term of imprisonment within this

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         1   reduced range.
         2             DEFENDANT'S UNDERSTANDINGS REGARDING COOPERATION
         3        8.    Defendant understands the following:
         4              a)    Any knowingly false or misleading statement by
         5   defendant will subject defendant to prosecution for false
         6   statement, obstruction of justice, and perjury and will
         7   constitute a breach by defendant of this agreement.
         8              b)    Nothing in this agreement requires the USAO or any
         9   other prosecuting, enforcement, administrative, or regulatory
 10          authority to accept any cooperation or assistance that defendant
 11          may offer, or to use it in any particular way.
 12                     c)    Defendant cannot withdraw defendant's guilty plea
 13          if the USAO does not make a motion pursuant to U.S.S.G.            §   5K1.1
 14          for a reduced guideline range or if the USAO makes such a motion
 15          and the Court does not grant it or if the Court grants such a
 16          USAO motion but elects to sentence above the reduced range.
 17                     d)    At this time the USAO makes no agreement or
 18          representation as to whether any cooperation that defendant has
 19          provided or intends to provide constitutes or will constitute
 20 . substantial assistance.             The decision whether defendant has
 21          provided substantial assistance will rest solely within the
 22          exclusive judgment of the USAO.
 23                     e)    The USAO's determination whether defendant has
 24          provided substantial assistance will not depend in any way on
 25          whether the government prevails at any trial or court hearing in
 26          which defendant testifies or in which the government otherwise
 27          presents information resulting from defendant's cooperation.
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 1                              NATURE OF THE OFFENSE
 2           9.    Defendant understands that for defendant to be guilty of
 3   the crime charged in the information's single count (violation of
 4   Title 18, United States Code, Section 1347), the following must
 5   be true:      (1) defendant knowingly and willfully devised or
 6   participated in a scheme to defraud a health care benefit
 7   program;      (2) the statements made or facts omitted as part of the
 8   scheme were material;      (3) defendant acted with intent to defraud;
 9   and (4) the scheme involved the delivery of or payment for health
10   care benefits, items, or services.        Defendant admits that
11   defendant is, in fact, guilty of this offense as described in
12   information's single count.
13                            PENALTIES AND RESTITUTION
14           10.    Defendant understands that the statutory maximum
15   sentence that the Court can impose for a violation of Title 18,
16   United States Code, Section 1347, is 10 years imprisonment; a 3-
17   year period of supervised release; a fine of $250,000 or twice
18   the gross gain or gross loss resulting from the offense,
19   whichever is greatest; and a mandatory special assessment of
20   $100.
21           11.    Defendant understands that defendant will be required
22   to pay full restitution to the victim(s) of the offense.
23   Defendant agrees that, in return for the USAO's compliance with
24   its obligations under this agreement, the amount of restitution
25   is not restricted to the 'amounts alleged in the count to which
26   defendant is pleading guilty and may include losses arising from
27   all relevant conduct in connection with that count.           The parties
28   currently believe that the applicable amount of restitutiori is

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 1   approximately $5,144,277.54, but recognize and agree that this
 2   amount could change based on facts that come to the attention of
 3   the parties prior to sentencing.
 4        12." Defendant understands that supervised release is a
 5   period of time following imprisonment during which defendant will
 6   be subject to various restrictions and requirements.           Defendant
 7   understands that if defendant violates one or more of the
 8   conditions of any supervised release imposed, defendant may be
 9   returned to prison for all or part of the term of supervised
10   release authorized by statute for the offense that resulted in
11   the term of supervised release, which could result in defendant
12   serving a total term of imprisonment greater than the statutory
13   maximum stated above.
14        13.   Defendant understands that, by pleading guilty,
15   defendant may be giving up valuable government benefits and
16   valuable civic rights, such as the right to vote, the right to
17   possess a firearm, the right to hold office, and the right to
18   serve on a jury.    Defendant understands that once the court
19   accepts defendant's guilty plea, it will be a federal felony for
20   defendant to possess a firearm or ammunition.         Defendant
21   understands that the conviction in this case may also subject
22   defendant to 'various other collateral consequences, including but
23   not limited to mandatory exclusion from federal health care
24   benefit programs for a minimum of five years J suspension or
25   revocation of a professional license, and revocation of
26   probation, parole, or supervised release in another case.
27   Defendant understands that unanticipated collateral consequences
28   will not serve as grounds to withdraw defendant's guilty plea.

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     1            14.    Defendant understands that, if defendant is not a
     2    United states citizen, the felony conviction in this case may
     3    subject defendant to removal, also known as deportation, which
     4    may, under some circumstances, be mandatory.             The court cannot,
     5    and defendant's attorney also may not be able to, advise
     6    defendant fully regarding the immigration consequences of the
     7    felony conviction in this case.          Defendant understands that
     8    unexpected immigration consequences will not serve as grounds to
     9    withdraw defendant's guilty plea.
    10                                     FACTUAL BASIS
    11            15.   Defendant and the USAO agree to the statement of facts
    12    provided below.       Defendant and the USAO agree that this statement
    13    of facts is sufficient to support a plea of guilty to the charge
    14    described in this agreement and to establish the Sentencing
    15    Guidelines factors set forth in paragraph 17 below but is not
    16    meant to be a complete recitation of all facts relevant to the
    17    underlying criminal conduct or all facts known to either party
    18    that relate to that conduct.
    19            Background
    20            From in or around May 2008 through in or around March 2011,
    21    defendant, a registered nurse ("RN") , was the owner and operator
    22    of a home health agency called Greatcare Home Health, Inc.
    23    ("Greatcare").       During that time period, defendant enrolled
    24    Greatcare as a provider with Medicare, a federal health care
    25    benefit program that provides reimbursement for medically
    26    necessary services to persons age sixty-five years and older and
    27    to certain disabled persons.          Greatcare purported to provide home
    28    health services, including skilled nursing services and physical

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    1   therapy treatments, to Medicare beneficiaries.
    2           During the time period defendant owned and operated
    3   Greatcare, defendant knew the Medicare requirements for home
    4   health services, including the requirements that (a) the patient
    5   be confined to a home and lack a willing caregiver,             (b) the
    6   patient has a medical need for the services,            (c) the services
    7   must be provided by persons licensed within the state in which
    8   they are practicing to provide those services,            (d) and the home
    9   health agency must maintain signed and dated clinical notes for
10      each home visit that accurately detail the services provides on
11      those visits.       Defendant also knew that it was illegal to payor
12      receive kickbacks for the referral of patients for health
13      services paid for by Medicare.
14              The Fraudulent Scheme
15              Beginning in or around May 2008 and continuing through on or
16      about March 2, 2011, in Los Angeles County, within the Central
17      District of California, defendant, together with others working
18      at Greatcare, engaged in a scheme to defraud Medicare in which
19      they (a) paid illegal kickbacks to doctors and marketers in
20      exchange for their referrals of Medicare patients to Greatcare,
21      (b) paid illegal kickbacks to patients to induce them to sign up
22      for home health services,        (c) billed Medicare for patients who
23      were not homebound or otherwise did not qualify for home health
24      services,     (d) billed Medicare for services that were provided by
25      unlicensed nurses,       (e) used false and exaggerated patient
26      diagnoses to generate higher Medicare reimbursement, and (f)
27      created false medical records to support false claims Greatcare
28      submitted to Medicare.

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    1        Defendant obtained Medicare beneficiaries for Greatcare by
    2   paying doctors and marketers anywhere from $100 to $300 per 60-
    3   day episode of   se~ice    for each Medicare beneficiary they
    4   referred to Greatcare.      Defendant also obtained Medicare
    5   beneficiary information by paying patients approximately $300 to
    6   induce them to sign up with Greatcare for home health services.
    7   Defendant paid the majority of these marketers, doctors, and
    8   patients in cash or in checks from her personal bank account in
    9   an effort to conceal the illegal kickbacks.
10           As defendant knew, many of those Medicare beneficiaries
11      referred by the marketers and doctors and paid by defendant did
12      not need skilled nursing or physical therapy services.           Defendant
13      hired employees who were licensed to provide nursing and physical
14      therapy services in order to fill out and sign off on fraudulent
15      Outcome and Assessment Information Set ("OASIS") forms for
16      Greatcare patients.     The OASIS form is part of an initial
17      assessment conducted by a registered nurse for all Medicare
18      patients receiving home health services and is used in
19      determining Medicare reimbursement.        The severity of the
20      beneficiary's health condition and care needs as indicated on the
21      OASIS form affected the level of Medicare reimbursement to the
22      provider.   On Greatcare's OASIS forms, defendant and Greatcare
23      employees acting at defendant's instruction falsely claimed that
24      patients were unable or unwilling to administer their own
25      medication and required skilled nursing services.           On those OASIS
26      forms, defendant and her co-schemers also entered diagnoses that
27      defendant knew the patients did not have and which were different
28      from the diagnoses reflected on the doctors' orders for home

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 1   health services.    The false statements made by defendant and
 2   other Greatcare employees at her instruction were material, in
 3   that Medicare relied upon the information from the OASIS forms
 4   about the severity of the patient's condition and necessity for
 5   home health services in determining Greatcare's reimbursement.
 6        Though defendant assigned Greatcare patients to herself and
 7   licensed Greatcare employees to conduct home health visits,
 8   defendant knew that neither she nor these other licensed
 9   employees conducted the majority of those visits.           As defendant
10   knew, some of these visits were not conducted by anyone, while
11   others were conducted, at defendant's instruction, by two
12   individuals whom defendant hired to make home visits to Medicare
13   beneficiaries knowing that the individuals lacked nursing or
14   physical therapy licenses in California.         Defendant and her
15   licensed co-schemers at Greatcare signed skilled nursing notes
16   falsely claiming they had visited patients they in fact had not
17   visited.   These false statements made by defendant and other
18   Greatcare employees at defendant's instruction were material, in
19   that Medicare required Greatcare to maintain accurate and
20   detailed skilled nursing notes to support the services for which
21   Greatcare billed Medicare.
22        At defendant's direction, Greatcare submitted claims to
23   Medicare for beneficiaries who were recruited by the payment of
24   illegal kickbacks and who did not medically need the services
25   billed and often did not receive them or received them from
26   unlicensed individuals.      Defendant knowingly and willfully
27   submitted these fraudulent claims in order to deceive Medicare
28   and to obtain payments of Medicare money to which she was not

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     1   entitled.    These fraudulent claims were material in that they
     2   induced Medicare to reimburse Greatcare for services it had
     3   allegedly provided.
     4        Execution of the Scheme to Defraud
     5        On or about March 1, 2011, in furtherance of the scheme to
     6   defraud Medicare, defendant knowingly, willfully, and with the
     7   intent to defraud Medicare caused Greatcare to submit a false
     8   claim to Medicare for skilled nursing services purportedly
     9   provided by Greatcare to Medicare beneficiary S.H. between
    10   November 24, 2010, and December 3, 2010.        At the time, defendant
    11   knew that beneficiary S.H. did not medically need home health
-12      services.    Defendant caused Greatcare to bill the claim for S.H.
    13   to Medicare using-a diagnosis (acute bronchitis) that was
    14   di~ferent    from and more severe than the diagnosis indicated on
    15   the referring doctor's order for home health (dehydration).
    16   Defendant paid a total of $600 in illegal kickbacks to
    17   beneficiary S.H. to induce S.H. to sign up for multiple episodes
    18   of care with Greatcare, and had paid $300 in illegal kickbacks to
    19   an employee of the referring doctor in exchange for the doctor's
    20   referral of S.H. to Greatcare.      Medicare paid Greatcare $2,700.60
    21   on this false claim.
    22        Obstruction
    23        In or around March 2011, defendant assisted a doctor to whom
    24   she had previously paid illegal kickbacks in creating patient
    25   files for Medicare beneficiaries the doctor had referred to
    26   Greatcare.    Defendant provided the doctor with Greatcare billing
    27   data and false information about the patients' medical conditions
    28   to help the doctor fabricate patient files that would support

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        1   Greatcare's claims for payment.           Defendant also instructed at
        2   least two other Greatcare employees to enter beneficiary
        3   information into the files and to obtain signatures from Medicare
        4   beneficiaries for the. files.       Defendant provided the Greatcare
        5   billing data and falsified information knowing and intending for
        6   it to be used to create fraudulent patient files purportedly
        7   supporting patient referrals made to Greatcare that would then be
        8   submitted to federal agents.
        9           Loss to Medicare
 10                 The loss to Medicare from defendant's scheme was
 11         approximately $5,144,277.54.
 12                                      SENTENCING FACTORS
 13                 16.   Defendant understands that in determining defendant's
 14         sentence the Court is required to consider the factors set forth
 15         in 18 U.S.C.     §   3553(a) (1)-(7), including the kinds of sentence
 16         and sentencing range established under the Sentencing Guidelines.
 17         Defendant understands that the Sentencing Guidelines are advisory
 18         only, that defendant cannot have any expectation of receiving a
 19         sentence within the Sentencing Guidelines range,                an~       that after
 20         considering the Sentencing Guidelines and the other                   §   3553(a)
 21         factors, the Court will be free to exercise its discretion to
 22         impose any sentence it finds appropriate up to the maximum set by
 23         statute for the crime of conviction.
 24                 17.   Defendant and the USAO agree to the following
 25         applicable Sentencing Guidelines factors:
 26                 Base Offense Level          6·        [U.S.S.G.   §   2Bl.1(a) (1)]
 27                 Loss Amount Between
                    $2.5 Million and
 28                 $7 Million                  +18       [U.S.S.G.   §   2Bl.l(b) (1) (J)]
                                                 •
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 1            Obstruction                              +2     [U.S.S.G.    §   3C1.1]
 2   Defendant and the USAO reserve the right to argue that additional
 3   specific offense characteristics, adjustments, and departures
 4   under the Sentencing Guidelines are appropriate.                              Specifically,
 5   the government reserves the right to argue for enhancements for
 6   aggravated role under U.S.S.G.                     §   3B1.1{a) and abuse of a position
 7   of trust under U.S.S.G.                §   3C1.1.
 8            18.     Defendant understands that there is no agreement as to
 9   defendant's criminal history or criminal history category.
10            19.     Defendant and the USAO reserve the right to argue for a
11   sentence outside the sentencing range established by the
12   Sentencing Guidelines based on the factors set forth in 18 U.S.C.
13   §    3 5 5 3 (a) (1),   ( a ) (2),   ( a ) (3),   (a ) (6), and ( a ) (7) .
14                               WAIVER OF CONSTITUTIONAL             RI~HTS


15            20.     Defendant understands that by pleading guilty,
16   defendant gives up the following rights:
17                    a) The right to persist in a plea of not guilty.
18                    b) The right to a speedy and public trial by jury.
19                    c) The right to the assistance of an attorney at trial,
20   including the right to have the Court appoint an attorney to
21   represent defendant at trial.                      Defendant understands, however,
22   that, despite defendant's guilty plea, defendant retains the
23   right to be represented by an attorney -- and, if necessary, to
24   have the Court appoint an attorney if defendant cannot afford one
25   -- at every other stage of the proceeding.
26                    d) The right to be presumed innocent and to have the
27   burden of proof placed on the government to prove defendant
28   guilty beyond a reasonable doubt.

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 1              e) The right to confront and cross-examine witnesses
 2   against defendant.
 3              f) The right to testify on defendant's own behalf and
 4   present evidence in opposition to the charges, including calling
 5   witnesses and subpoenaing those witnesses to testify.
 6              g) The right not to be compelled to testify, and, if
 7   defendant chose not to testify or present evidence, to have that
 8   choice not be used against defendant.
 9              h) Any and all rights to pursue any affirmative
10   defenses, Fourth Amendment or Fifth Amendment claims, and other
11   pretrial motions that have been filed or could be filed.
12                      WAIVER OF APPEAL OF CONVICTION

13        21. Defendant understands that, with the exception of an
14   appeal based on a claim that defendant's guilty plea were
15   involuntary, by pleading guilty defendant is waiving and giving
16   up any right to appeal defendant's conviction on the offense to
17   which defendant is pleading guilty.
18               LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

19        22.   Defendant agrees that, provided the Court imposes a
20   total term of imprisonment on all counts of conviction of no more
21   than 108 months, defendant gives up the right to appeal all of
22   the following:   (a) the procedures and calculations used to
23   determine and impose any portion of the sentence;         (b) the term of
24   imprisonment imposed by the Court;       (c) the fine imposed by the
25   court, provided it is within the statutory maximum;          (d) the
26   amount and terms of any restitution order, provided it requires
27   payment of no more than $5,144,277.54;       (e) the term of probation
28   or supervised release imposed by the Court, provided it is within

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     1   the statutory maximum; and (f) any of the following conditions of
     2   probation or supervised release imposed by the Court: the
     3   standard conditions set forth in General Orders 318, 01-05,
     4   and/or 05-02 of this Court; the drug testing conditions mandated
     5   by 18 U.S.C.   §§    3563(a) (5) and 3583(d); and the alcohol and drug
     6   use conditions authorized by 18 U.S.C.       §   3563(b) (7).
     7        23.   The USAO agrees that, provided (a) all portions of the
     8   sentence are at or below the statutory maximum specified above
     9   and (b) the Court imposes a term of imprisonment of no less than
 10      87 months, the USAO gives up its right to appeal any portion of
 11      the sentence, with the exception that the USAO reserves the right
 12      to appeal the amount of restitution ordered if that amount is
 13      less than $5,144,277.54.
 14                          RESULT OF WITHDRAWAL OF GUILTY PLEA
 15           24.   Defendant agrees that if, after entering a guilty plea
 16      pursuant to this agreement, defendant seeks to withdraw and
 17      succeeds in withdrawing defendant's guilty plea on any basis
 18      other than a claim and finding that entry into this plea
 19      agreement was involuntary, then (a) the USAO will be relieved of
 20      all of its obligations under this agreement, including in
 21      particular its obligations regarding the use of Cooperation
 22      Information;   (b) in any investigation, criminal prosecution, or
 23      civil, administrative, or regulatory action, defendant agrees
 24      that any Cooperation Information and any evidence derived from
 25      any Cooperation Information shall be admissible against
 26      defendant, and defendant will not assert, and hereby waives and
 27      gives up, any claim under the United States Constitution, any
 28      statute, or any federal rule, that any Cooperation Information or

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         1   any evidence derived from any Cooperation Information should be
         2   suppressed or is inadmissible
         3                         EFFECTIVE DATE OF AGREEMENT
     4            25.     This agreement is effective upon signature and
         5   execution of all required certifications by defendant,
         6   defendant's counsel, and an Assistant United States Attorney.
         7                             BREACH OF AGREEMENT
     8            26.     Defendant agrees that if defendant, at any time after
         9   the signature of this agreement and execution of all required
 10          certifications by defendant, defendant's counsel, and an
 11          Assistant United States Attorney, knowingly violates or fails to
 12          perform any of defendant's obligations under this agreement ("a
 13          breach"), the USAO may declare this agreement breached.           For
 14          example, if defendant. knowingly, in an interview, before a grand
 15          jury, or at trial, falsely accuses another person of criminal
 16          conduct or falsely minimizes defendant's own role, or the role of
 17          another, in criminal conduct, defendant will have breached this
 18          agreement.    All of defendant's obligations are material, a single
 19          breach of this agreement is sufficient for the USAO to declare a
 20          breach, and defendant shall not be deemed to have cured a breach
 21          without the express agreement of the USAO in writing.           If the
 22          USAO declares this agreement breached, and the Court finds such a
 23          breach to have occurred, then:
 24                       (a) If defendant has previously entered a guilty plea
 25          pursuant to this agreement, defendant will not be able to
 26          withdraw the guilty plea.
 27                       (b) The USAO will be relieved of all its obligations
 28          under this agreement; in particular, the USAO:         (i) will no longer

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 1   be bound by any agreements concerning sentencing and will be free
 2   to seek any       sen~ence   up to the statutory maximum for the crime to
 3   which defendant has pleaded guilty; and (ii) will no longer be
 4   bound by any agreement regarding the use of Cooperation
 5   Information and will be free to use any Cooperation Information
 6   in any way in any investigation, criminal prosecution, or civil,
 7   administrative, or regulatory action.
 8                c)     The USAO will be free to criminally prosecute
 9   defendant for false statement, obstruction of justice, and
10   perjury based on any knowingly false or misleading statement by
11   defendant.
12                d)      In any investigation, criminal prosecution, or
13   civil, administrative, or regulatory action:         (i) defendant will
14   not assert, and hereby waives and gives up, any claim that any
15   Cooperation       Info~ation   was obtained in violation of the Fifth
16   Amendment privilege against compelled self-incrimination; and
17   (ii) defendant agrees that any Cooperation Information and any
18   Plea Information, as well as any evidence derived from any
19   Cooperation Information or any Plea Information, shall be
20   admissible against defendant, and defendant will not assert, and
21   hereby waives and gives up, any claim under the United States
22   Constitution, any statute, Rule .410 of the Federal Rules of
23   Evidence, Rule 11(f) of the Federal Rules of Criminal Procedure,
24   or any other federal rule, that any Cooperation Information, any
25   Plea Information, or any evidence derived from any Cooperation
26   Information or any Plea Information should be suppressed or is
27   inadmissible.
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     1                   COURT AND PROBATION OFFICE NOT PARTIES
     2        27.     Defendant understands that the Court and the United
     3   States Probation Office are not parties to this agreement and
     4   need not accept any of the USAO's sentencing recommendations or
     5   the parties' agreements to facts or sentencing factors.
     6        28.     Defendant understands that both defendant and the USAO
     7   are free to:    (a) supplement the facts by supplying relevant
     8   information to the United States Probation Office and the Court,
     9   (b) correct any and all factual misstatements relating to the
 10      Court's Sentencing Guidelines calculations, and C) argue on
 11      appeal and collateral review that the Court's Sentencing
 12      Guidelines calculations are not error, although each party agrees
 13      to maintain its view that the calculations in paragraph 17 are
 14      consistent with the facts of this case.           While this paragraph
 15      permits both the USAO and defendant to submit full and complete
 16      factual information to the United States Probation Office and the
 17      Court, even if that factual information may be viewed as
 18      inconsistent with the facts agreed to in this agreement, this
 19      paragraph does not affect defendant's and the USAO's obligations
 20      not to contest the facts agreed to in this agreement.
 21           29.     Defendant understands that even if the Court ignores
 22      any sentencing recommendation, finds facts or reaches conclusions
 23      different from those agreed to, and/or imposes any sentence up to
 24      the maximum established by statute, defendant cannot,             ~or   that
 25      reason, withdraw defendant's guilty plea, and defendant will
 26      remain bound to fulfill all defendant's obligations under this
 27      agreement.     Defendant understands that no one -- not the
 28      prosecutor, defendant's attorney, or the Court -- can make a

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         1   binding prediction or promise regarding the sentence defendant
         2   will receive, except that it will be within the statutory
         3   maximum.
         4                          NO ADDITIONAL AGREEMENTS
         5         30.   Defendant understands that, except as set forth herein,
         6   there are no promises, understandings, or agreements between the
         7   USAO and defendant or defendant's attorney, and that no
         8   additional promise, understanding, or agreement may be entered
         9   into unless in a writing signed by all parties or on the record
 10          in court.
 11                      PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
 12                31.   The parties agree that this agreement will be
 13          considered part of the record of defendant's guilty plea hearing
 14          as if the entire agreement had been read into the record of the
 15· proceeding.
 16          AGREED AND ACCEPTED
 17          UNITED STATES ATTORNEY'S OFFICE
             FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18
             ANDRE BIROTTE JR.
 19          United tates Attorney
 20
 21                       L
                    N A. WILLIAMS                          Dat~   ,
 22                 ant United States Attorney
 23
 24                                                               (2---/01 ( (/
             HEE     G MUN                                 Date
 25
 26
 27                W~ER
                                             -                /2-1-1/
                                                           Date
             Attorney for Defendant
 28          HEE JUNG MUN

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     1                             CERTIFICATION OF DEFENDANT
     2           I have read this agreement in its entirety.             I have had
     3 enough time to review and consider this agreement, and I have
     4 carefully and thoroughly discussed every part of it with my
     5 attorney.        I   understand the terms of this agreement, and I
     6 voluntarily'agree to those terms.             I   have discussed the evidence
     7 with my attorney, and my attorney has advised me of my rights, of
     8 possible pretrial motions that might be filed, of possible
     9 defenses that might be asserted either prior to or at trial, of
10 the sentencing factors set forth in 18 U.S.C.                  §    3553(a), of
11 relevant Sentencing Guidelines provisions, and of the
12 consequences of entering into this agreement.                      No promises,
13 inducements, or representations of any kind have been made to me
14 other than those contained in this agreement.                      No one has
15 threatened or forced me in any way to enter into this agreement.
16 I am satisfied with the representation of my attorney in this
17 matter, and I am pleading guilty because I am guilty of the
18 charges and wish to take advantage of the promises set forth in
19 this agreement, and not for any other reason.
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21 II_~~~~
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         HEE JUNG    MiJN                                  Date
22 Defendant
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 1
                       CERTIFICATION OF DEFENDANT'S ATTORNEY
 2
           I am HEE JUNG MON's attorney.         I have carefully and
 3
     thoroughly discussed every part of this agreement with my client.
 4
     Further,   I   have fully advised my client of her rights, of
 5
     possible pretrial motions that might be filed, of possible
 6
     defenses that might be asserted either prior to or at trial, of
 7
     the sentencing factors set forth in 18 U.S.C.           §    3553(a), of
 8
     relevant Sentencing Guidelines provisions, and of the
 9
     consequences of entering into this agreement.               To my knowledge:
10
     no promises, inducements, or representations of any kind have
11
     been made to my client other than those contained in this
12
     agreement; no one has threatened or forced my client in any way
13
     to enter into this agreement; my client's decision to enter into
14
     this agreement is an informed and voluntary one; and the factual
15
     basis set forth in this agreement is sufficient to support my
16
                                                       to this agreement.
17

18 II----~~~--~~~------~~-------
                                                            /2-1-1/
     ANDREW FLIER                                    Date
19 Attorney for Defendant
     HEE JUNG MUN
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